                                      United States Bankruptcy Court
                                     Northern District of California
In re:                                                                                  Case No. 17-52896-MEH
Jamie Macias-Nguyen                                                                     Chapter 7
         Debtor
                                         CERTIFICATE OF NOTICE
District/off: 0971-5           User: dfagan                 Page 1 of 2                   Date Rcvd: Dec 01, 2017
                               Form ID: 309A                Total Noticed: 37


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 03, 2017.
db             +Jamie Macias-Nguyen,    1663 River Birch Ct.,    San Jose, CA 95131-3150
aty            +Elliot Gale,    Sagaria Law P.C.,    3017 Douglas Blvd. #200,   Roseville, CA 95661-3837
smg           ++CALIFORNIA STATE BOARD OF EQUALIZATION,     ACCOUNT REFERENCE GROUP MIC 29,    P O BOX 942879,
                 SACRAMENTO CA 94279-0029
               (address filed with court: State Board of Equalization,
                 Attn: Special Procedures Section, MIC:55,     P.O. Box 942879,   Sacramento, CA 94279)
14677705       +Atty Gen, US Dept of Justice,     Civil Trial Sec., Western Reg.,
                 PO Box 683, Ben Franklin Stat.,     Washington, DC 20044-0683
14677708       +Cefcu,   Attn: Bankruptcy,    Po Box 1715,    Peoria, IL 61656-1715
14677709        Ces/wells,    C/o Acs,   Utica, NY 13501
14677711       +Citicards Cbna,    Citicorp Credit Svc/Centralized Bankrupt,    Po Box 790040,
                 Saint Louis, MO 63179-0040
14677712       +Clark Bie,    1663 River Birch Ct.,    San Jose, CA 95131-3150
14677720       +Jason Barnes,    2706 Benton St.,    Santa Clara, CA 95051-4810
14677723        Midland Credit Mangement,    PO Box 13105,    Warren, CA 94031
14677724       +Midland Funding LLC,    PO Box 2001,    Warren, MI 48090-2001
14677729       +US Attorney, Chief Tax Division,     For the CA Franchise Tax Board,   450 Golden Gate, Ave,
                 10th Floor, Box 36055,    San Francisco, CA 94102-3661
14677731       +Zwicker & Associates, P.C.,    80 Minutema Rd.,    Andover, MA 01810-1008

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: SagariaBK@sagarialaw.com Dec 02 2017 02:01:29         Scott J. Sagaria,
                 Law Offices of Scott J. Sagaria,     3017 Douglas Blvd. #200,     Roseville, CA 95661
tr              EDI: QMPOONJA.COM Dec 02 2017 01:58:00       Mohamed Poonja,    P.O. Box 1510,
                 Los Altos, CA 94023-1510
smg             EDI: EDD.COM Dec 02 2017 01:58:00       CA Employment Development Dept.,
                 Bankruptcy Group MIC 92E,    P.O. Box 826880,     Sacramento, CA 94280-0001
smg             EDI: CALTAX.COM Dec 02 2017 01:58:00       CA Franchise Tax Board,     Attn: Special Procedures,
                 P.O. Box 2952,    Sacramento, CA 95812-2952
smg             EDI: IRS.COM Dec 02 2017 01:58:00       IRS,   P.O. Box 7346,    Philadelphia, PA 19101-7346
ust             E-mail/Text: ustpregion17.sj.ecf@usdoj.gov Dec 02 2017 02:01:49
                 Office of the U.S. Trustee / SJ,     U.S. Federal Bldg.,    280 S 1st St. #268,
                 San Jose, CA 95113-3004
cr             +EDI: RMSC.COM Dec 02 2017 01:58:00       Synchrony Bank,    c/o PRA Receivables Management, LLC,
                 P.O. Box 41021,    Norfolk, VA 23541-1021
14677704       +EDI: AMEREXPR.COM Dec 02 2017 01:58:00       Amex,    Correspondence,    Po Box 981540,
                 El Paso, TX 79998-1540
14677706       +EDI: HFC.COM Dec 02 2017 01:58:00       Best Buy,    PO Box 60148,
                 City Of Industry, CA 91716-0148
14677707       +EDI: CAPITALONE.COM Dec 02 2017 01:58:00       Capital One,
                 Attn: General Correspondence/Bankruptcy,     Po Box 30285,    Salt Lake City, UT 84130-0285
14677710       +EDI: CAUT.COM Dec 02 2017 01:58:00       Chase Auto Finance,    National Bankruptcy Dept,
                 201 N Central Ave Ms Az1-1191,     Phoenix, AZ 85004-1071
14677713       +EDI: WFNNB.COM Dec 02 2017 01:58:00       Comenity Bank,    Attn: Bankruptcy,     Po Box 182125,
                 Columbus, OH 43218-2125
14677714       +EDI: WFNNB.COM Dec 02 2017 01:58:00       Comenity Bank/Express,     Attn: Bankruptcy,
                 Po Box 182125,    Columbus, OH 43218-2125
14677715       +EDI: WFNNB.COM Dec 02 2017 01:58:00       Comenity Bank/Victoria Secret,     Attn: Bankruptcy,
                 Po Box 182125,    Columbus, OH 43218-2125
14677716       +EDI: DISCOVER.COM Dec 02 2017 01:58:00       Discover Financial,     Po Box 3025,
                 New Albany, OH 43054-3025
14677717       +EDI: DISCOVERPL Dec 02 2017 01:58:00       Discover Personal Loan,     Attn: Bankruptcy,
                 Po Box 30954,    Salt Lake City, UT 84130-0954
14677717       +E-mail/Text: dplbk@discover.com Dec 02 2017 02:02:04        Discover Personal Loan,
                 Attn: Bankruptcy,    Po Box 30954,    Salt Lake City, UT 84130-0954
14677718        EDI: CALTAX.COM Dec 02 2017 01:58:00       Franchise Tax Board,     Bankruptcy Section, MS A-340,
                 PO Box 2952,    Sacramento, CA 95812-2952
14677721       +EDI: CBSKOHLS.COM Dec 02 2017 01:58:00       Kohls/Capital One,     Kohls Credit,    Po Box 3043,
                 Milwaukee, WI 53201-3043
14677722       +E-mail/Text: bankruptcyonlinefilings@logixbanking.com Dec 02 2017 02:01:54
                 Lockheed Fed Cr Union,    Po Box 6759,    Burbank, CA 91510-6759
14677725       +EDI: RMSC.COM Dec 02 2017 01:58:00       Synchrony Bank,    Po Box 965060,
                 Orlando, FL 32896-5060
14677726       +EDI: RMSC.COM Dec 02 2017 01:58:00       Synchrony Bank/Amazon,     Attn: Bankruptcy,
                 Po Box 965060,    Orlando, FL 32896-5060
14677727       +EDI: RMSC.COM Dec 02 2017 01:58:00       Synchrony Bank/Banana Republic,     Attn: Bankruptcy,
                 Po Box 965060,    Orlando, FL 32896-5060
14677728       +EDI: RMSC.COM Dec 02 2017 01:58:00       Synchrony Bank/Gap,    Attn: Bankruptcy,     Po Box 965060,
                 Orlando, FL 32896-5060
14677730       +EDI: WFFC.COM Dec 02 2017 01:58:00       Wells Fargo Bank,    Po Box 10438,    Macf8235-02f,
                 Des Moines, IA 50306-0438
                                                                                                TOTAL: 25


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                                      Form ID: 309A                      Total Noticed: 37


             ***** BYPASSED RECIPIENTS (continued) *****

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
14677719*         Internal Revenue Service,   PO Box 7346,   Philadelphia, PA 19101-7346
                                                                                                                    TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 03, 2017                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 1, 2017 at the address(es) listed below:
              Elliot Gale    on behalf of Debtor Jamie Macias-Nguyen ecf@sagarialaw.com,
               ECFGotNotices@Gmail.com
              Mohamed Poonja    mp@poonja.us, mpoonja@ecf.epiqsystems.com
              Office of the U.S. Trustee / SJ    USTPRegion17.SJ.ECF@usdoj.gov
              Scott J. Sagaria    on behalf of Debtor Jamie Macias-Nguyen SagariaBK@sagarialaw.com,
               ecf@sagarialaw.com
                                                                                            TOTAL: 4




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      Debtors may request to receive Court notices and orders by email instead of U.S. mail. Sign Up at www.canb.uscourts.gov
Information to identify the case:
Debtor 1              Jamie Macias−Nguyen                                                         Social Security number or ITIN            xxx−xx−9367
                      First Name   Middle Name      Last Name                                     EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                          Social Security number or ITIN _ _ _ _
                      First Name   Middle Name      Last Name
(Spouse, if filing)
                                                                                                  EIN     _ _−_ _ _ _ _ _ _
United States Bankruptcy Court             Northern District of California
                                                                                                  Date case filed for chapter 7 11/30/17
Case number:          17−52896 MEH 7


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                     12/15


For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about the meeting of creditors
and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a deficiency, repossess
property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or otherwise. Creditors who
violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days
or not exist at all, although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who want to have a particular
debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within the deadlines specified in this notice. (See line 9
for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification Numbers, which may
appear on a version of this notice. However, the full numbers must not appear on any document filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a Social Security or
Individual Taxpayer Identification Number in any document, including attachments, that you file with the court.

                                                 About Debtor 1:                                               About Debtor 2:

 1.     Debtor's full name                       Jamie Macias−Nguyen

 2.     All other names used in the
        last 8 years

 3.    Address                                 1663 River Birch Ct.
                                               San Jose, CA 95131

 4.    Debtor's attorney                         Scott J. Sagaria                                              Contact phone (408)279−2288
                                                 Law Offices of Scott J. Sagaria
       Name and address                          3017 Douglas Blvd. #200
                                                 Roseville, CA 95661

 5.    Bankruptcy trustee                        Mohamed Poonja                                                Contact phone 650−941−3400
                                                 P.O. Box 1510                                                 Email: mp@poonja.us
       Name and address                          Los Altos, CA 94023−1510

 6.         Bankruptcy clerk's office                           280 South First Street                        Hours open: 9:00 am to 4:30 pm,
                                                                Room 3035                                     Monday − Friday
            Documents in this case may be filed at this         San Jose, CA 95113
            address. You may inspect all records filed in                                                     Contact phone: 408−278−7500
            this case at this office or online at
            www.pacer.gov.
                                                                                                              Date: 12/1/17
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1




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Debtor Jamie Macias−Nguyen                                                                                              Case number 17−52896 MEH 7


7. Meeting of creditors                                      January 4, 2018 at 10:00 AM                                           Location:

    Debtors must attend the meeting to be questioned         The meeting may be continued or                                       U.S. Federal Bldg.,
    under oath. In a joint case, both spouses must attend.   adjourned to a later date. If so, the date                            280 S 1st St. #130,
    Creditors may attend, but are not required to do so.
                                                             will be on the court docket.                                          San Jose, CA 95113
    Important Notice to Individual Debtors: The United States Trustee requires all debtors who are individuals to provide government−issued
    photo identification and proof of social security number to the trustee at the meeting of creditors. If a debtor fails to appear, your case may be
    dismissed without further notice.


8. Presumption of abuse                                      The presumption of abuse does not arise.

    If the presumption of abuse arises, you may have the
    right to file a motion to dismiss the case under 11
    U.S.C. § 707(b). Debtors may rebut the presumption
    by showing special circumstances.


9. Deadlines                                                 File by the deadline to object to                    Filing
                                                             discharge or to challenge whether                    deadline:
    The bankruptcy clerk's office must receive these         certain debts are dischargeable:                     3/5/18
    documents and any required filing fee by the following
    deadlines.
                                                             You must file a complaint:

                                                             • if you assert that the debtor is not entitled to
                                                               receive a discharge of any debts under any of
                                                               the subdivisions of 11 U.S.C. § 727(a)(2)
                                                               through (7),
                                                               or
                                                             • if you want to have a debt excepted from
                                                               discharge under 11 U.S.C § 523(a)(2), (4), or
                                                               (6).
                                                             You must file a motion:
                                                             • if you assert that the discharge should be
                                                               denied under § 727(a)(8) or (9).


                                                             Deadline to object to exemptions:                                     Filing deadline: 30
                                                             The law permits debtors to keep certain property                      days after the conclusion
                                                             as exempt. If you believe that the law does not                       of the meeting of creditors
                                                             authorize an exemption claimed, you may file an
                                                             objection.


10. Proof of claim                                         No property appears to be available to pay creditors. Therefore, please do not
                                                           file a proof of claim now. If it later appears that assets are available to pay
    Please do not file a proof of claim unless you receive creditors, the clerk will send you another notice telling you that you may file a
    a notice to do so.                                     proof of claim and stating the deadline.

11. Creditors with a foreign address                         If you are a creditor receiving a notice mailed to a foreign address, you may file
                                                             a motion asking the court to extend the deadlines in this notice. Consult an
                                                             attorney familiar with United States bankruptcy law if you have any questions
                                                             about your rights in this case.

12. Exempt property                                          The law allows debtors to keep certain property as exempt. Fully exempt
                                                             property will not be sold and distributed to creditors. Debtors must file a list of
                                                             property claimed as exempt. You may inspect that list at the bankruptcy clerk's
                                                             office or online at www.pacer.gov. If you believe that the law does not authorize
                                                             an exemption that the debtors claim, you may file an objection. The bankruptcy
                                                             clerk's office must receive the objection by the deadline to object to exemptions
                                                             in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                  page 2




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